 

FILED

IN THE UNITED STATES DISTRICT COURT MAY 28 2019 DB

FOR THE MIDDLE DISTRICT OF TENNESSEE U.S. DISTRICT COURT
MIDDLE DISTRICT OF TN,

| Yecng Skevecsson «|

 

 

 

 

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The indersignect hereby certifies that the (nl Jeacing)
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CERTIFICATE OF SERVICE

 

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